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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 RowVaughn Wells, Individually and as
 Administratrix Ad Litem of the Estate of
 Tyre Deandre Nichols, deceased.

        Plaintiff,
                                                              Case No.: 2:23-cv-2224
 v.                                                           JURY DEMANDED

 The City of Memphis, a municipality;
 Chief Cerelyn Davis, in her official capacity;
 Emmitt Martin III, in his individual capacity;
 Demetrius Haley, in his individual capacity;
 Justin Smith, in his individual capacity;
 Desmond Mills, Jr., in his individual capacity;
 Tadarrius Bean, in his individual capacity;
 Preston Hemphill, in his individual capacity
 Robert Long, in his individual capacity;
 JaMichael Sandridge, in his individual capacity;
 Michelle Whitaker, in her individual capacity;
 DeWayne Smith, in his individual capacity and
 as an agent of the City of Memphis,

       Defendants.
 ______________________________________________________________________________

  NOTICE OF SERVICE OF DEFENDANT MICHELLE WHITAKER’S FIRST SET OF
   REQUESTS FOR ADMISSION TO PLAINTIFF, SECOND SET OF REQUESTS FOR
   PRODUCTION TO PLAINTIFF, AND SECOND SET OF INTERROGATORIES TO
                                   PLAINTIFF
 ______________________________________________________________________________

        I hereby certify that on January 29, 2024, a copy of Defendant Michelle Whitaker’s First

 Set of Requests for Admission to Plaintiff were served, via email, on every attorney of record in

 the above referenced matter. In addition, on January 30, 2024, a copy of Defendant Michelle

 Whitaker’s Second Set of Interrogatories to Plaintiff and Second Set of Requests for Production

 to Plaintiff were served, via email, on every attorney of record in the above referenced matter.
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                                             Respectfully submitted,

                                             SPENCE PARTNERS

                                      By:    /s/ Jarrett M.D. Spence
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                                             Andrew M. Horvath (BPR #33862)
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                                             Attorneys for Defendant Michelle Whitaker



                                CERTIFICATE OF SERVICE

          I hereby certify that on January 30, 2024, I electronically filed the foregoing document
 with the Clerk of Court by using the Court’s electronic filing system, which sent notification of
 filing to all counsel of record.

                                              /s/ Jarrett M.D. Spence




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